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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                    Case No. 1:18-cv-00950-LO-JFA
                 v.

  COX COMMUNICATIONS, INC., et al.,

                         Defendants.


   COX’S RESPONSE TO PLAINTIFFS’ MOTIONS TO SEAL (ECF 484, 541, and 570 )

        On October 21, 2019, Plaintiffs filed their Memorandum in Support of Their Omnibus

 Motion in Limine, Declaration of Jeffrey Gould and Exs. 2-5, 8, 10-12, 17-19, and 21-28,

 Declaration of Samuel Bahun, and Declaration of Vance Ikezoye (ECF 476, 476-3, 476-1, 476-2).

 On October 30, 2019, Plaintiffs filed their Omnibus Memorandum in Opposition to Cox’s Motions

 in Limine Nos. 1-10, Declaration of Vance Ikezoye, Declaration of Samuel Bahun, and Exs. 1, 2,

 and 7-16 to the Declaration of Jeffrey Gould (ECF 538, 538-2, 538-1, and 538-3 through 538-14).

 On November 6, 2019, Plaintiffs filed their Reply Memorandum in Support of their Omnibus

 Motion in Limine and Exs. 2, 3, and 5 to the Declaration of Jeffrey Gould (ECF 568, 568-1 through

 568-3). In connection with these filings, Plaintiffs attached or referenced documents that

 Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”) designated as

 either “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” under the Stipulated

 Protective Order (ECF No. 58) (the “Protective Order”). Plaintiffs moved to seal in connection

 therewith (ECF 484, 541, and 570).

        Under Rule 26 of the Federal Rules of Civil Procedure and E.D. Va. Local Civil Rule 5(C),

 Cox respectfully submits this Response in partial support of Plaintiffs’ motions to seal, seeking to




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 maintain certain materials under seal, as described below. Pursuant to Local Civil Rule 5(C), Cox

 must provide the Court with:

    a. “A statement why sealing is necessary, and why another procedure will not suffice, as

        well as appropriate evidentiary support for the sealing request.”

             •   Plaintiffs’ Motion in Limine (“Plaintiffs’ MIL”) Gould Ex. 3, 4, 8, 27, 28;

                 Plaintiffs’ Opposition to Cox’s Motion in Limine (“Plaintiffs’ MIL Opp.”) Gould

                 Ex. 1; and Plaintiffs’ Reply in Further Support of their Motion in Limine

                 (“Plaintiffs’ MIL Reply”) Gould Ex. 5 are excerpts of depositions of Cox

                 employees or former employees. Plaintiffs’ MIL Gould Ex. 5, 10, 11, 24, 25, 26

                 and Plaintiffs’ MIL Opp. Gould Ex. 2 are internal Cox documents and expert

                 reports that reference internal Cox documents. If exposed, these exhibits would

                 reveal highly confidential and sensitive information unavailable to the public,

                 including details on Cox’s response to copyright infringement notices and how

                 Cox operates internally.

             •   Gould MIL Opp. Ex. 13, 14, 15, and 16 contain numerous proposed Plaintiffs trial

                 exhibits, some of which Cox supports sealing; they are: PX-19, PX-20, PX-21,

                 PX-22, PX-254, PX-262, PX-277, PX-305, PX-342, PX-375, PX-381, PX-382,

                 PX-392, PX-417, PX-428, PX-429, PX-430. If exposed, these exhibits too would

                 reveal highly confidential and sensitive information unavailable to the public,

                 including details on Cox’s response to copyright infringement notices and how

                 Cox operates internally.




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             •   Plaintiffs’ MIL Opp. Gould Ex. 7 and 8 reference Cox’s financial data.               If

                 exposed, these exhibits would reveal highly confidential and sensitive information

                 unavailable to the public.

    b. “References to the governing case law, an analysis of the appropriate standard to be

        applied for that specific filing, and a description of how that standard has been

        satisfied.”

        Under current Fourth Circuit law, the district court must do the following before sealing

 any court records:

        (1) give public notice of the request to seal and allow interested parties a reasonable

        opportunity to object, (2) consider less drastic alternatives to sealing the documents, and

        (3) provide specific reasons and factual findings supporting its decision to seal the

        documents and for rejecting the alternatives.

 Ashcraft v. Conoco, Inc., 218 F.3d 282, 288 (4th Cir. 2000). Cox has met each procedural

 requirement.

        To satisfy the first requirement, the Court must provide notice of a request for sealing in

 the court record and provide interested persons with “an opportunity to object.” In re Knight Pub.

 Co., 743 F.2d 231, 235 (4th Cir. 1984). Individual notice is not required, and the Court may give

 adequate notice either by “notifying the persons present in the courtroom of the request to seal” at

 the time of the hearing, or by “docketing [the sealing request] in advance of deciding the issue.”

 Id. In accordance with Local Civil Rule 5 procedure, Plaintiffs’ sealing motions were publicly

 docketed before the hearing on the parties’ motions in limine, satisfying the first requirement.




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         To meet the second requirement, the Court must consider using redactions or limited

 sealing (either in scope or duration) in lieu of permanent, blanket sealing. Cox meets this

 requirement because it requests sealing only those limited identified exhibits.

         To meet the third requirement, the Court must make specific findings, supported by the

 record, that justify sealing under the applicable standard. As set forth above, Cox designated the

 documents and/or information at issue as Highly Confidential or Confidential pursuant to the

 Protective Order in this case. Cox also meets the third requirement because the documents contain

 confidential proprietary information that, if exposed, could provide competitors in the market with

 an unfair advantage. See In re Knight, 743 F.2d at 235 (stating that the district court should consider

 “whether the records are sought for improper purposes, such as … unfairly gaining a business

 advantage”); East West, LLC v. Rahman, No. 1:11-cv-1380, 2012 WL 3843657 (E.D. Va. Sept. 4,

 2012) (sealing documents concerning “highly sensitive business or personal information, the

 disclosure of which is highly likely to cause significant harm to an individual or to the business

 competitive position of the designating party”).

    c.   “Unless permanent sealing is sought, a statement as to the period of time the party

         seeks to have the matter maintained under seal and how the matter is to be handled

         upon unsealing.”

         Cox seeks permanent sealing of these documents because there is no future date in

 which the disclosure of this information would not competitively harm Cox or reveal personal

 details about its subscribers.

    d. A proposed order attached hereto.




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 Dated: November 13, 2019                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I hereby certify that on November 13, 2019, the foregoing was filed and served
 electronically by the Court’s CM/ECF system upon all registered users.


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